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                Exhibit 8
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Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Bexar County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=p2&g=050XX00US48029&tid=DECENNIALPL2020.P2




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Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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Table: DECENNIALPL2020.P2


  Label                              Bexar County, Texas
Total:                              2,009,324
 Hispanic or Latino                 1,190,958
 Not Hispanic or Latino:            818,366
   Population of one race:          764,322
     White alone                    535,732

     Black or African American alone 147,875
     American Indian and Alaska
     Native alone                    4,554
     Asian alone                     65,217
     Native Hawaiian and Other
     Pacific Islander alone          2,726
     Some Other Race alone           8,218

   Population of two or more races: 54,044
    Population of two races:        49,863
      White; Black or African
      American                      12,318
      White; American Indian and
      Alaska Native                 10,874
      White; Asian                  12,631
      White; Native Hawaiian and
      Other Pacific Islander        819
      White; Some Other Race        7,146
      Black or African American;
      American Indian and Alaska
      Native                        1,445
      Black or African American;
      Asian                         1,846
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              294


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Table: DECENNIALPL2020.P2


  Label                               Bexar County, Texas
      Black or African American;
      Some Other Race                1,081
      American Indian and Alaska
      Native; Asian                  128
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         26
      American Indian and Alaska
      Native; Some Other Race        65
      Asian; Native Hawaiian and
      Other Pacific Islander         920
      Asian; Some Other Race         238
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           32
     Population of three races:      3,828
      White; Black or African
      American; American Indian
      and Alaska Native              1,178
      White; Black or African
      American; Asian                803
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     113
      White; Black or African
      American; Some Other Race      298
      White; American Indian and
      Alaska Native; Asian           322
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       65


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Table: DECENNIALPL2020.P2


  Label                                  Bexar County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           113
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       566
      White; Asian; Some Other
      Race                           96
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     12
      Black or African American;
      American Indian and Alaska
      Native; Asian                  76
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         6
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        45
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         85
      Black or African American;
      Asian; Some Other Race         25
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           3




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  Label                                  Bexar County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       11
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           0
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     1
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     10
     Population of four races:       302
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       110
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       18
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     75
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       48




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Table: DECENNIALPL2020.P2


  Label                              Bexar County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         9
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              0
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     24
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   0
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    13
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     4
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         1




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  Label                                  Bexar County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       51
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               23
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                26
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      2
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


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Table: DECENNIALPL2020.P2


  Label                                  Bexar County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of six races:        0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0




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